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AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
Southern District of Florida

SHARON WEINSTOCK, et al.,

Plaintiff
V,
ISLAMIC REPUBLIC OF IRAN, et al.,
Defendant

Civil Action No. 17-cv-23272

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

| certify that the attached judgment is a copy of a judgment entered by this court on (date) 05/02/2019

| also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Date: Jun 27, 2019 ,
[ = ee Cenified to be a true and
correct copy ofthe document on file
Angeia E. Noble, Clerk,

U.S. District Court
Southern District of Florida

py__Patrick Edwards

Deputy Clerk
oote dun 27, 2019.

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United States District Court US. Disivict Court ~~~
for the istea i
Southern District of Florida

Sharon Weinstock, et al.,
Plaintiffs,

Islamic Republic of Iran,

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)
)
V. ) Civil Action No. 17-23272-Civ-Scola
)
)
Defendant. )

Judgment

For the reasons set forth in the Final Default Judgment entered on April
5S, 2019 (ECF No. 52), it is hereby ORDERED and ADJUDGED that this Court
GRANTS Plaintiffs’ Motion for Default Judgment against Defendant Islamic
Republic of Iran (“Iran‘).

The Court hereby enters judgment against Defendant in the amounts
specified below, for a total compensatory damages award of $26,291,000.
Specifically:

1. Sharon Weinstock shall be awarded $5,000,000 in compensatory

damages.

2. The Estate of Dov Weinstock shall be awarded $5,000,000 in

compensatory damages.

3. Moshe Weinstock shall be awarded $2,500,000 in compensatory

damages.

4. Geula Weinstock shall be awarded $2,500,000 in compensatory

damages.

S. Aryeh Weinstock shall be awarded $2,500,000 in compensatory

damages.

6. Chaim Mishael Weinstock (“Mishael*) shall be awarded $2,500,000 in

compensatory damages.

7. The Estate of Rabbi Simon Dolgin shall be awarded $2,500,000 in

compensatory damages.

8. The Estate of Shirley Dolgin shall be awarded $2,500,000 in

compensatory damages.

9. The Estate of Yitzchak Weinstock shall be awarded $1,291,000 in

compensatory damages.

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Done and ordered, at Miami, Florida, on May 2, 2019.

QNESL—

Robert N. Scola, Jr.
United States District Judge

